     Case 2:13-cr-06070-SAB         ECF No. 10   filed 12/04/13   PageID.10   Page 1 of 1




 1                        UNITED STATES DISTRICT COURT
 2                     EASTERN DISTRICT OF WASHINGTON
 3
 4 UNITED STATES OF AMERICA,                        No. MJ-13-4363-1
 5                     Plaintiff,                   ORDER FOLLOWING:
 6 vs.                                              ☒ INITIAL APPEARANCE
 7
 8 KENNY ROWELL,                                    ☒      ACTION REQUIRED
 9                      Defendant.
10   Date of hearing: 12/04/2013

11   ☒     Complaint
     Defendant was advised of, and acknowledged, Defendant’s rights.
12
     ☒     Probable Cause hearing set before Judge Rodgers:
13
           Wednesday, December 11, 2013, at 2:00 PM,
14
           ☒     Yakima Video Conference (Parties in Yakima)
15
                       Judge Hutton calendar (Judge Rodgers presiding)
16
     ☒     Bail hearing set before Judge Rodgers:
17
           Monday, December 9, 2013 at 2:00 PM
18         ☒     Yakima Video Conference (Parties in Yakima)
19                     Judge Hutton calendar (Judge Rodgers presiding)
20         ☒     Pending the hearing, Defendant shall be detained in the custody of the
21         United States Marshal and produced for the hearing or until further order of
22         the court.
23   ☒     The U.S. Probation Office personnel shall prepare a Pretrial Services Report
           prior to the bail hearing, and shall notify defense counsel prior to
24
           interviewing Defendant.
25
     DATED December 4, 2013.
26                              s/James P. Hutton
27                             JAMES P. HUTTON
                       UNITED STATES MAGISTRATE JUDGE
28



     ORDER - 1
